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                                                                                 FILED
                           UNITED STATES DISTRICT COURT                          MAY O8 2023
                              DISTRICT OF SOUTH DAKOTA                          lllJJ-iM-
                                     NORTHERN DIVISION

 UNITED STATES OF AMERICA,
                                                             1:23-CR-10008-02-CBK
                        Plaintiff,
                                                           MEMORANDUM OPINION
        vs.
                                                                   AND ORDER
 EDWIN GIOVANNI SALINAS,
                        Defendant.

       Defendant and co-defendant Berta Rosmelvi Gonzales were charged in a one-
count indictment with conspiracy to distribute a controlled substance, fentanyl.
Defendant Salinas filed a motion to sever defendants for trial pursuant to Fed. R. Crim. P.
14(a). Defendant Gonzales resists the motion to sever. The government has now filed a
superseding indictment charging both defendants with conspiracy and with possession
with intent to distribute fentany I.
       Pursuant to Fed. R. Crim. P. 8(b), joinder of defendants in an indictment is proper
"if they are alleged to have participated in the same act or transaction, or in the same
series of acts or transactions, constituting an offense or offenses." "There is a preference
in the federal system for joint trials of defendants who are indicted together." Zafiro v.
United States, 506 U.S. 534,537, 113 S. Ct. 933,937, 122 L. Ed. 2d 317 (1993). In this
case, both defendants are charged in both counts of the superseding indictment with
having committed the identical crimes, conspiracy to distribute fentany 1 and a single act
of possession with intent to distribute fentanyl on a certain date. "It is the well-settled
rule in this circuit that when all of the defendants charged in an indictment are part of a
single common conspiracy joinder under Rule 8(b) is proper." United States v. Mendoza,
876 F.2d 639, 643 (8th Cir. 1989). Further, there can be no question that it is proper to
join both defendants when they are both alleged to have participated in the same act of
possession with intent to distribute fentany I.
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      Relief from proper joinder under Rule 8 may be had under Fed. R. Crim. P. 14(a).
U.S. v. Robaina, 39 F.3d 858, 861 (8th Cir. 1994). Pursuant to Rule 14(a), if the
consolidation of defendants for trial appears to prejudice a defendant, the Court may
order separate trials. United States v. Escobar, 909 F.3d 228,242 (8th Cir. 2018).
Defendant Salinas contends that severance is necessary in this case because codefendant
Gonzales gave statements implicating Salinas and such claim would not be subject to
cross-examination if Gonzales chooses not to testify.
       In conspiracy trials, our cases have tended to favor trying coconspirators jointly
       absent demonstrated prejudice. We will not reverse a denial of a motion to sever
       unless the appellant demonstrates an abuse of discretion resulting in clear
       prejudice. Generally, persons charged in a conspiracy or jointly indicted on
       similar evidence from the same or related events should be tried together. The
       mere fact that one defendant tries to shift blame to another defendant does not
       mandate separate trials, as a codefendant frequently attempts to 'point the finger,'
       to shift the blame, or to save himself at the expense of the other.

United States v. Lewis, 557 F.3d 601, 609 (8th Cir. 2009) (internal quotations and
citations omitted).
       "The presumption against severing properly joined cases is strong. It is not
enough that a defendant thinks his chances for acquittal would be better in a separate
trial." United States v. Delpit, 94 F.3d 1134, 1143 (8th Cir. 1996) (citing Zafiro, 506
U.S. at 540, 113 S.Ct. at 938-39). "This presumption can only be overcome if the
prejudice is 'severe or compelling."' United States v. Lewis, 557 F .3d at 609 (quoting
United States v. Crumley. 528 F.3d 1053, 1063 (8th Cir.2008)). "Severance is not
required merely because evidence that is admissible only against some defendants may be
damaging to others." United States v. Mallett, 751 F.3d 907,917 (8th Cir. 2014).
       A court will permit severance only "upon a showing of real prejudice to an
       individual defendant. ... Prejudice to the defendant must be both "real"
       and "clear" .... A demonstration of prejudice requires the defendant to
       demonstrate some appreciable chance that he would not have been
       convicted had the separate trial he wanted been granted. That is, the
       defendant must show something more than the mere fact that his chances
       for acquittal would have been better had he been tried separately. He must
       affirmatively demonstrate that the joint trial prejudiced his right to a fair
       trial. To satisfy the real prejudice standard, a defendant may show that his
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       defense is irreconcilable with the defense of his codefendant or that the
       jury will be unable to compartmentalize the evidence as it relates to
       separate defendants. The defendant carries a heavy burden in making this
       showing.

United States v. Payton, 636 F.3d 1027, 1037 (8th Cir. 2011) (internal quotations and
citations omitted).
       We have stated that the existence of antagonistic defenses does not require
       severance unless the defenses are actually irreconcilable. A defense is
       irreconcilable when the jury, to believe the core of one defense, must
       necessarily disbelieve the core of another. Antagonistic defenses require
       severance only when there is a danger that the jury will unjustifiably infer
       that this conflict alone demonstrates that both are guilty.

United States v. Lewis, 557 at 609-10 (cleaned up).
       Defendant Salinas has identified no antagonistic defenses requiring severance.
Instead, he contends that if Gonzales' statements to investigators which incriminated him
are offered by the government in their case in chief and Gonzales does not testify,
defendant would be unable to challenge Gonzales' statements. The identical
Confrontation Clause concern was addressed by the United States Supreme Court in
Bruton v. United States, 391 U.S. 123, 88 S.Ct. 1620, 20 L.Ed.2d 476 (1968). "In
Bruton, the Supreme Court held that the admission of a nontestifying defendant's
statement inculpating a codefendant violates the codefendant's Confrontation Clause
rights, notwithstanding a curative instruction." United States v. Lewis, 557 F.3d 601,611
(8th Cir. 2009) (citing Bruton, 391 U.S. at 135-36).
       Defendant Salinas seeks to sever his trial from that of his codefendant to prevent
the government from offering, at a joint trial, codefendant Gonzales' statements made to
patrol officers through the testimony of those officers (which, pursuant to Fed. R. Evid.
801(d)(2), would not be hearsay in defendant Gonzales' trial). At a separate trial,
Gonzales would not be a codefendant and her statements would not be admissible against
defendant Salinas unless she testifies and subjects herself to cross examination.
      Neither the government nor defendant Salinas has identified the statements
allegedly made by defendant Gonzales. Sisseton-Wahpeton Sioux Tribe Safety Officer

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Malcolm Edgar testified at the suppression hearing held in this matter that Ms. Gonzales
told him she and Salinas were driving from Beardsley, Minnesota to Salinas' family's
residence in the area. She initially gave Officer Edgar a false name and, after further
questioning, she gave her actual name. Deputy Pfeilsticker testified at the suppression
hearing that defendant Gonzales told both he and Officer Edgar that she lied to them
about her name. She was thereafter arrested by Roberts County Deputy Sheriff Dylan
Pfeilsticker on state charges of false impersonation. Sheriff Pfeilsticker testified at the
suppression hearing held on April 12, 2023, that, after conducting an inventory search of
the vehicle, a backpack was found with a wallet containing co-defendant Berta Gonzalez'
social security card and a bag containing a substance that field tested positive for
methamphetamine. In a backpack found in a compartment behind the back seat, officer
Pfeilsticker located packages that tested positive for Fentanyl.
       Defendant Gonzales responded to the motion to sever with information that she
was interviewed on November 26, 2022, by Bureau of Indian Affairs-Division of Drugs
Enforcement Special Agent Isaiah Soldier and Sisseton-Wahpeton Law Enforcement
Criminal Investigator Jaiden Carlson at the Roberts County Sheriffs Office. Defendant
Gonzales revealed that, when she was confronted and told large quantities of drugs had
been found in the vehicle, she stated "the drugs belonged to Mr. Salinas." She also
revealed that defendants "Salinas had brought a backpack with him and told her that the
backpack contained clothes." Defendant Gonzales denied ownership or knowledge of the
contents of the backpack.
       The government contends that Gonzales' statements would be admissible pursuant
to Fed. R. Evid. 80l(d)(2)(E) as statements ofa coconspirator. The Eighth Circuit has
held that, "when the statements are those of a co-conspirator and are admissible under
Federal Rule of Evidence 80l(d)(2)(E), the Sixth Amendment and Bruton are not
implicated." United States v. Mickelson, 378 F.3d 810, 819 (8th Cir. 2004). Facially, the
statements at issue here are not admissible under Rule 80l(d)(2)(E) because they were
not made by an alleged coconspirator "during and in furtherance of the conspiracy." The
statements were made during law enforcement questioning.

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       The government contends that Rule 801(d)(2)(E) extends to statements made
"during the concealment phase of the conspiracy." "[C]onspirator statements made to a
known police agent are admissible under Rule 801(d)(2)(E) only if intended to allow the
conspiracy to continue, for example, by misleading law enforcers." United States v.
Alonzo, 991 F.2d 1422, 1426 (8th Cir.1993). In Alonzo, the Eighth Circuit held that
where the alleged coconspirator, "to further [her] own interests ... implicated [her]
cohorts and assisted the agents in ending the criminal enterprise," the statements were not
properly admitted as coconspirator statements made in furtherance of the conspiracy. Id.
As in Alonzo, the statements made by defendant Gonzales were not made in furtherance
of the alleged conspiracy but were made to further her interests and implicate defendant
Salinas.
       "[T]here is no Confrontation Clause violation when the defendant's name and
existence are excised from the statement and limiting instructions are given, even though
the confession might implicate the defendant when linked to other evidence." United
States v. Williams, 429 F.3d 767, 772-73 (8th Cir. 2005) (citing Richardson v. Marsh,
481 U.S. 200, 107 S.Ct. 1702, 95 L.Ed.2d 176 (1987)). However, "notwithstanding
cautionary instructions and neutral redactions, Bruton is violated when the fact that a
statement had been redacted is so obvious as to lead the jury through ordinary inferences
directly to a defendant." United States v. Williams, 429 F.3d 767, 773 (8th Cir. 2005)
(citing Gray v. Maryland, 523 U.S. 185, 118 S.Ct. 1151, 140 L.Ed.2d 294 (1998)).
      · Defendant Salinas contends that co-defendant's statement incriminating him "was
not an admission against herself, rather a statement that directly implicates Mr.
Salinas ... The jury cannot follow a curative instruction to only consider the statement
solely against the declarant as the statement is not averse to Defendant Gonzales." Thus,
defendant contends, no redactions and curative instruction to consider co-defendant's
statements only against herself would be sufficient to protect defendant's rights. The
government counters that defendants each made statements regarding their travels and
how they knew each other and that Gonzales' statements are inculpable when linked.with



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other evidence produced at trial, thus making the statement admissible as a confession of
the codefendant.
       The defendants were interviewed separately. If defendant Salinas gave a different
account of even minor matters like where they came from and where they were heading
in the car that night, Gonzales' statements could be used to imply that Salinas lied.
Salinas would be unable to cross examine Gonzales to establish that she lied and not
Salinas. It is further troubling that both officers involved in the traffic stop which led to
defendants' arrests testified that that there was a language barrier in communicating with
Gonzales. Any statements allegedly made by Ms. Gonzales could not be tested by cross
examination to demonstrate to the jury whether she even understood the questions.
       Severance is not required in this case. No evidence that violates Bruton will be
allowed. If the government seeks the admission of Gonzales' statements, the government
must, in advance of trial, provide the Court a copy of the statements, along with a
proposed redacted version of the statements. If the redacted version violates Supreme
Court or Eighth Circuit precedent, the co-defendant's statement will not be admitted at
all. Only a redacted version that is not obviously altered to remove the defendant's name
and existence will be admissible. Further, any statement made by defendant Gonzales
that would imply that the statements made by defendant Salinas were lies must also be
redacted.
                                          ORDER
       Now, therefore,
       IT IS ORDERED that defendant's motion, Doc. 58, to sever defendants for
separate trials is denied.
       DATED t h i s ~ ~ of May, 2023.
                                           BY THE COURT:



                                      ~g/;IY
                                           CHARLESB.KORNMANN
                                           United States District Judge

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